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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

   Carmelo English,                                            Civil Action #:

                                         Plaintiff,            Complaint
                 -v-

   Mastour Galleries, Inc.,                                    Jury Trial Demanded
   George Mastour, and
   Joseph Mastour,

                                        Defendants.

        Plaintiff Carmelo English (“Plaintiff” or “English”), by Abdul Hassan Law Group,
   PLLC, his attorney, complaining of the Defendants Mastour Galleries, Inc., George Mastour,
   and Joseph Mastour (collectively “Defendants”), respectfully allege as follows:


                                   NATURE OF THE ACTION
1. Plaintiff alleges that he was employed by Defendants, individually and/or jointly, and
    pursuant to the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§ 216 (b), that he is: (i)
    entitled to unpaid overtime wages from Defendants for working more than forty hours in a
    week and not being paid an overtime rate of at least 1.5 times his regular rate for such hours
    over forty in a week; and (ii) entitled to maximum liquidated damages and attorneys' fees
    pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. including 29 U.S.C. §
    216(b).


2. Plaintiff was employed by Defendants, individually and/or jointly, and pursuant to the New
    York Labor Law, he is: (i) entitled to unpaid wages from Defendants for working more than
    forty hours in a week and not being paid an overtime rate of at least 1.5 times his regular rate;
    and (ii) entitled to liquidated damages and attorneys' fees, pursuant to the New York
    Minimum Wage Act ("NYMWA"), N.Y. Lab. Law §§ 650 et seq., and the regulations
    thereunder including 12 NYCRR § 142-2.2.

3. Plaintiff is also entitled to recover his unpaid wages and unlawful wage deductions, under
   Article 6 of the New York Labor Law including Section 191, 193, and compensation for not
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  receiving notices and statements required by NYLL 195, under Article 6 of the New York
  Labor Law and is also entitled to maximum liquidated damages, and attorneys’ fees pursuant
  to Section 198 of the New York Labor Law.

                                    JURISDICTION AND VENUE
4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 and
   supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. In
   addition, the Court has jurisdiction over Plaintiff’s claims under the Fair Labor Standards Act
   pursuant to 29 U.S.C. § 216 (b).


5. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. § 1391(b) and/or
   29 USC § 216(b).


6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§ 2202,
   2201.


                                          THE PARTIES
7. Plaintiff Carmelo English (“Plaintiff” or “English”) is an adult, over eighteen years old, who
   currently resides in Bronx County, New York.

8. Upon information and belief and all times relevant herein, Mastour Galleries, Inc. (“MG”)
   was a New York for-profit corporation.

9. Upon information and belief and at all times relevant herein, Defendant MG was owned,
   controlled and operated by George Mastour (“George”) and Joseph Mastour (“Joseph”).


10. At all times relevant herein, Defendants individually and/or jointly controlled the
   employment of Plaintiff and was responsible for hiring, firing, scheduling, controlling,
   managing, supervising, and record- keeping as to plaintiff’s employment, among other
   employment functions.

11. At all times relevant herein, Defendants shared places of business in New York County, New
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    York, at 217 East 59th Street, New York, NY 10022 where Plaintiff was employed by
    Defendants.

12. At all times relevant herein, Plaintiff was employed individually and/or jointly by
    Defendants.


                                      STATEMENT OF FACTS
13. At all times relevant herein, Defendants were engaged in the business of the business of
    selling and installing carpets and rugs. See http://www.mastourgalleries.com/


14. Upon information and belief and at all times relevant herein, Defendants, individually and/or
    jointly one or more locations and employed over four employees at any given time.

15. At all times relevant herein, Plaintiff was employed by Defendants from in or around
   March/April 2012 to on in or around December 2016.


16. Upon information and belief, and at all times relevant herein, Plaintiff was individually and/or
   jointly employed by Defendants as a store clerk performing a variety of manual functions
   within this capacity.

17. At all times relevant herein, Defendants paid Plaintiff at a rate of $10 an hour and Plaintiff
   was not paid any wages for his overtime hours (hours over 40 in a week) worked.

18. At all times relevant herein, Plaintiff worked 52.5-61 hours a week; 5-6 days a week for
   Defendants; but Defendants did not pay Plaintiff any wages including overtime wages for his
   overtime hours worked.


19. A more precise statement of the hours and wages may be made when Plaintiff obtains the
   wage, time and employment records Defendants were required to keep under the FLSA (29
   USC 211 and 29 CFR 516) and NYLL (NYLL 195 and 12 NYCRR 142-2.6). Accurate copies
   of Plaintiff’s wage and time records that Defendants were required to keep are incorporated
   herein by reference.
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20. Upon information and belief, and at all times relevant herein and for the time Plaintiff was
   employed by Defendants, Defendants failed to pay Plaintiff an overtime rate of at least 1.5
   times his regular rate of pay for each and all hours worked in excess of forty hours each
   week.


21. At all times relevant herein, neither Defendant provided Plaintiff with the notice(s) required
   by NYLL 195(1).


22. At all times relevant herein, neither Defendant provided Plaintiff with the statement(s)
   required by NYLL 195(3).


23. Upon information and belief, and at all times relevant herein, Defendants had revenues
   and/or transacted business in an amount exceeding $500,000 annually.


24. At all times applicable herein, defendants conducted business with vendors and other
   businesses outside the State of New York.


25. At all times applicable herein and upon information and belief, Defendants conducted
   business in interstate and international commerce involving the purchase of carpet, rugs, and
   related products.


26. Defendants as a regular part of its business, makes payment of taxes and other monies to
   agencies and entities outside the State of New York.


27. Defendants as a regular part of its business, engaged in credit card transactions involving
   banks and other institutions outside the state of New York.


28. At all times applicable herein and upon information and belief, Defendants transacted
   business with insurance companies, banks and similar lending institutions outside the State of
   New York.
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29. At all times applicable herein and upon information and belief, Defendants utilized the
   instrumentalities of interstate commerce such as the United States mail, internet electronic
   mail and telephone systems.

30. Upon information and belief, and at all relevant times herein, Defendants failed to display
   federal and state minimum wage/overtime posters.

31. Upon information and belief, and at all relevant times herein, Defendants failed to notify
   Plaintiff of his federal and state minimum wage and overtime rights and failed to inform
   Plaintiff that he could seek enforcement of such rights through the government enforcement
   agencies.

32. “Plaintiff” as used in this complaint refers to the named Plaintiff.


33. The “present” or the “present time” as used in this complaint refers to the date this complaint
   was signed.

                       AS AND FOR A FIRST CAUSE OF ACTION
   FAIR LABOR STANDARDS ACT - 29 U.S.C 201 et Seq. (Unpaid Overtime wages)
34. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 33
   above as if set forth fully and at length herein.


35. At all times relevant to this action, Plaintiff was employed by Defendants, individually
   and/or jointly, within the meaning of the FLSA – 29 USC 201 et Seq.


36. At all times relevant to this action, Plaintiff was engaged in commerce and/or in the
   production of goods for commerce and/or Defendants, individually and/or jointly, constituted
   an enterprise(s) engaged in commerce within the meaning of 29 U.S.C. § 207.


37. At all times relevant herein, Defendants, individually and/or jointly, transacted commerce
   and business in excess of $500,000.00 annually or had revenues in excess of $500,000.00
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   annually.


38. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to pay Plaintiff overtime compensation at rates of at least 1.5 times his regular rate of
   pay for each hour worked in excess of forty hours each week, in violation of 29 U.S.C. § 207.


                                         Relief Demanded
39. Due to Defendants' FLSA violations, Plaintiff is entitled to recover from Defendants
   individually and/or jointly, his unpaid overtime wage compensation, maximum liquidated
   damages, attorney's fees, and costs of the action, pursuant to 29 U.S.C. § 216(b).


                       AS AND FOR A SECOND CAUSE OF ACTION
               NYLL 650 et Seq. and 12 NYCRR 142-2.2 etc. (Unpaid Overtime)
40. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 38
   above as if set forth fully and at length herein.


41. At all times relevant to this action, Plaintiff was employed by Defendants, individually
   and/or jointly, within the meaning of the New York Labor Law, §§ 2 and 651 and the
   regulations and wage orders thereunder including 12 NYCRR § 142.


42. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to pay Plaintiff overtime compensation at rates not less than 1.5 times his regular rate
   of pay, for each hour worked in excess of forty hours in a work-week, in violation of the New
   York Minimum Wage Act and its implementing regulations and wage orders. N.Y. Lab. Law
   §§ 650 et seq., including 12 NYCRR § 142-2.2.


                                         Relief Demanded
43. Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to recover from
   Defendants, his unpaid overtime compensation, prejudgment interest, maximum liquidated
   damages, reasonable attorneys' fees, and costs of the action, pursuant to N.Y. Labor L. §
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   663(1) and the regulations thereunder.


                       AS AND FOR A THIRD CAUSE OF ACTION
                       NYLL § 190, 191, 193, 195 and 198 (Unpaid wages)
44. Plaintiff alleges and incorporates each and every allegation contained in paragraphs 1
   through 43 above with the same force and effect as if fully set forth at length herein.


45. At all times relevant to this action, Plaintiff was employed by Defendants, individually
   and/or jointly, within the meaning of the New York Labor law, §§ 190 et seq., including §§
   191, 193, 195 and 198 and the applicable regulations thereunder.


46. Defendants, individually and/or jointly, violated and willfully violated NYLL §§ 190 et seq.,
   including §§ 191, 193 and 198, by failing to pay Plaintiff all his unpaid non-overtime and
   overtime wages, as required by NYLL §§ 191, 193 and 198.

47. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to provide Plaintiff with the notice(s) required by NYLL 195(1) – Plaintiff is therefore
   entitled to and seeks to recover in this action the maximum recovery for this violation, plus
   attorneys’ fees and costs pursuant to NYLL 198 including NYLL 198(1-b), as well as an
   injunction directing Defendants to comply with NYLL 195(1).

48. At all times relevant herein, Defendants, individually and/or jointly, failed and willfully
   failed to provide Plaintiff with the statement(s) required by NYLL 195(3) – Plaintiff is
   therefore entitled to and seeks to recover in this action the maximum recovery for this
   violation, plus attorneys’ fees and costs pursuant to NYLL 198 including NYLL 198(1-d), as
   well as an injunction directing Defendants to comply with NYLL 195(1).


                                         Relief Demanded
49. Due to Defendants’ New York Labor Law Article 6 violations including violation of sections
   191, 193 and 198, Plaintiff is entitled to recover from Defendants, individually and/or jointly,
   his entire unpaid wages, including his unpaid overtime wages and non-overtime wages,
   maximum liquidated damages, prejudgment interest, maximum recovery for violations of
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   NYLL 195(1) and NYLL 195(3), reasonable attorneys’ fees, and costs of the action, pursuant
   to N.Y. Labor Law § 190 et seq. including § 198.


                                     PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully request that this Court grant the following relief:

50. Declare Defendants, individually and/or jointly, to be in violation of the Plaintiff’s rights
   under the Fair Labor Standards Act, Article 6 of the New York Labor Law, the New York
   Minimum Wage Act, and the Regulations thereunder;


51. As to the First Cause of Action, award Plaintiff his unpaid overtime wages due under the
   FLSA, together with maximum liquidated damages, costs and attorney's fees pursuant to 29
   USC § 216(b);

52. As to the Second Cause of Action, award Plaintiff his unpaid overtime wages due under the
   New York Minimum Wage Act and the Regulations thereunder including 12 NYCRR §§
   142-2.2, together with maximum liquidated damages, prejudgment interest, costs and
   attorney's fees pursuant to NYLL § 663;

53. As to the Third Cause of Action, award Plaintiff all outstanding wages, including his unpaid
   overtime and non-overtime wages, plus maximum liquidated damages, maximum recovery
   for violations of NYLL 195(1) and NYLL 195(3), reasonable attorneys’ fees, and costs of the
   action, pursuant to N.Y. Labor Law § 190 et seq. including § 198, and issue an injunction
   directing Defendants to comply with NYLL 195(1) and NYLL 195(3).

54. Award Plaintiff prejudgement interest on all monies due;

55. Award Plaintiff and all those similarly situated, any relief requested or stated in the preceding
   paragraphs but which has not been requested in the WHEREFORE clause, in addition to the
   relief requested in the wherefore clause;

56. Award Plaintiff such other, further and different relief as the Court deems just and proper.
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Dated: Queens Village, New York
       December 24, 2018

Respectfully submitted,

Abdul Hassan Law Group, PLLC

/s/ Abdul Hassan ________________
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